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                        UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF TEXAS
                                           Fort Worth Division

 UNITED STATES OF AMERICA                                  JUDGMENT IN A CRIMINAL CASE

 v.                                                        Case Number: 4:23-CR-061-Y(2)
                                                           Shawn Smith, assistant U.S. attorney
 MARK ANTHONY KIRKLAND                                     Vincent E. Wisely, attorney for the defendant


        On June 14, 2023, the defendant, Mark Anthony Kirkland, entered a plea of guilty to count one of the one-
count superseding information. Accordingly, the defendant is adjudged guilty of such count, which involves the
following offense:

 TITLE & SECTION                 NATURE OF OFFENSE                      OFFENSE CONCLUDED                   COUNT

 21 U.S.C. § 846 (21 U.S.C.      Conspiracy to Possess with Intent to   March 31, 2022                      1-superseding
 §§ 841(a)(1) and (b)(1)(C))     Distribute a Controlled Substance                                          information

        The defendant is sentenced as provided in pages two through three of this judgment. The sentence is imposed
under Title 18, United States Code § 3553(a), taking the guidelines issued by the United States Sentencing
Commission under Title 28, United States Code § 994(a)(1), as advisory only.

        The defendant shall pay immediately a special assessment of $100.00 for count one of the one-count
superseding information.

         Upon motion of the government, count one of the one-count indictment is dismissed as to this defendant
only.

          The defendant shall notify the United States attorney for this district within thirty days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid.

                                                                  Sentence imposed October 10, 2023.


                                                                  _______________________________
                                                                  TERRY R. MEANS
                                                                  UNITED STATES DISTRICT JUDGE

                                                                  Signed October 11, 2023.
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                                             IMPRISONMENT

         The defendant, Mark Anthony Kirkland, is hereby committed to the custody of the Federal Bureau of Prisons
to be imprisoned for a term of 156 months on count one of the one-count superseding information. This sentence shall
run consecutively to any future sentence that may be imposed in the defendant's pending parole revocation hearings
in case nos. 1420416D, 1454195W, and 1454760W in Criminal District Court No. 1, Tarrant County, Texas.
Additionally, this sentence shall run consecutively to any future sentence that may be imposed in case no. 1714144D
in Criminal District Court No. 3, Tarrant County, Texas.

        The Court recommends that the defendant be incarcerated at FCI-Oakdale, Oakdale, Louisiana, if possible.

        The defendant is remanded to the custody of the United States marshal.

                                          SUPERVISED RELEASE
        Upon release from imprisonment, the defendant shall be placed on supervised release for a term of 3 years
on count one of the one-count superseding information.

        The defendant, while on supervised release, shall comply with the standard conditions recommended by the
U. S. Sentencing Commission at §5D1.3(c) of the United States Sentencing Commission Guidelines Manual, and
shall:

        not commit another federal, state, or local crime;

        not possess illegal controlled substances;

        not possess a firearm, destructive device, or other dangerous weapon;

        cooperate in the collection of DNA as directed by the probation officer, as authorized by the Justice for All
        Act of 2004;

        report in person to the probation office in the district to which the defendant is released within 72 hours of
        release from the custody of the Federal Bureau of Prisons;

        refrain from any unlawful use of a controlled substance. The defendant must submit to one drug test within
        15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
        Court;

        participate in outpatient mental-health treatment services as directed by the probation officer until
        successfully discharged, which services may include prescribed medications by a licensed physician, with
        the defendant contributing to the costs of services rendered (copayment) at a rate of at least $25 per month;
        and

        participate in an outpatient program approved by the probation officer for treatment of narcotic or drug or
        alcohol dependency that will include testing for the detection of substance use, abstaining from the use of
        alcohol and all other intoxicants during and after completion of treatment, contributing to the costs of services
        rendered (copayment) at the rate of at least $25 per month.

                                            FINE/RESTITUTION

         The Court does not order a fine or costs of incarceration because the defendant does not have the financial
resources or future earning capacity to pay a fine or costs of incarceration.
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        Restitution is not ordered because there is no victim other than society at large.


                                                    RETURN
        I have executed this judgment as follows:




        Defendant delivered on ___________________________ to ____________________________________

at ____________________________________________________________, with a certified copy of this judgment.


                                                                         United States marshal


                                                                         BY ________________________________
                                                                                       deputy marshal
